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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE: ALEXANDER E. JONES                                  §
                                                           § CASE NO. 22-33553 (CML)
                                                           §
                   Debtor.                                 § Chapter 7


         NOTICE OF STATUS CONFERENCE AND CERTIFICATE OF SERVICE

         PLEASE TAKE NOTICE that the Court will hold a hybrid Status Conference in the above

case and related Adversaries1 on May 9, 2025 at 1:00 pm (CST) before the Honorable Christopher

M. Lopez, United States Bankruptcy Judge, Courtroom 401, 515 Rusk, Houston, TX 77002.

         Parties may participate and attend this hearing remotely by telephone and video conference.

Audio for remote participation is conducted by phone, Dial-in Number: 832-917-1510, Conference

ID: 590153. Video participation is conducted through GoToMeeting at: https://www.gotomeet.me/

JudgeLopez. Additional instructions, rules, and/or procedures on participation may be found on

the        Court’s          homepage            at:         https://www.txs.uscourts.gov/page/united-states

bankruptcyjudgechristopher-m-lopez.

Dated: May 1, 2025


                                                       /s/ Shelby A. Jordan
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  (1) 22-33553 – Alexander E. Jones Chapter 7; (2) 24-03279 – Wheeler, et al. v Jones, et al.; (3) 23-03035 – Heslin,
et al. v Jones, et al.; (4) 23-03037 – Wheeler, et al. v Jones, et al.


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                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served upon all parties registered
to receive notices via the Court’s ECF noticing system on May 1, 2025.

                                              /s/ Shelby A. Jordan
                                              Shelby A. Jordan




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